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               EXHIBIT 13




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                                                            U.S. Department of Justice

                                                            Michael R. Sherwin
                                                            Acting United States Attorney

                                                            District of Columbia
                                                            Judiciary Center
                                                            555 Fourth St. N.W.
                                                            Washington, D.C. 20530


                                                           November 10, 2020

VIA Electronic Mail
Digital Ocean

                              Re:    Grand Jury Subpoena #GJ2020111067990
                                     USAO #2020R02030
Dear Sir/Madam:

       Pursuant to a criminal investigation being conducted by the United States Attorney’s Office, it is
required that you furnish the requested records as described in the attached subpoena.

        In lieu of personally appearing before the Grand Jury on the date indicated, you may comply with
this grand jury subpoena by promptly providing the undersigned Assistant U.S. Attorney with the requested
records. If you choose to provide the requested records voluntarily, please provide them in a non-
proprietary electronic format via FedEx, UPS or DHL. Also enclosed please find a blank “Declaration of
Custodian of Records” form. It may save time and costs if an appropriate person at your business could
complete the form and return it with the records. A properly completed “Declaration of Custodian of
Records” form will make it more likely that we could present the records at trial without requiring you or
another employee to come to court and testify.

        Although you are not required to do so, you are requested not to disclose the existence of this
subpoena or the fact of your compliance. Any such disclosure could impede the investigation being
conducted and thereby interfere with the enforcement of the law. Thank you for your cooperation in this
matter.

                                                    Sincerely,

                                                    Michael R. Sherwin
                                                    Acting United States Attorney

                                             By:    __/s/Jessica C. Brooks______
                                                    Jessica C. Brooks
                                                    Assistant United States Attorney
                                                    202-252-7745
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 AO 110 (Rev. 06/09) Subpoena to Testify Before a Grand Jury



                                        UNITED STATES DISTRICT COURT
                                                                      for the
                                                               District of Columbia
                                           SUBPOENA TO TESTIFY BEFORE A GRAND JURY

To:     Digital Ocean

       YOU ARE COMMANDED to appear in this United States district court at the time, date, and place shown
 below to testify before the court’s grand jury. When you arrive, you must remain at the court until the judge or a court
 officer allows you to leave.

      Place: U.S. DISTRICT COURT FOR THE DISTRICT OF COLUMBIA                         Date and Time:
             U.S. Courthouse, 3rd Floor    Grand Jury #                               Tuesday, November 17, 2020 at 9:00 AM
             333 Constitution Avenue, N.W.
             Washington, D.C. 20001


           You must also bring with you the following documents, electronically stored information, or objects:


                                                           PLEASE SEE ATTACHMENT


 In lieu of personally appearing before the Grand Jury on the date indicated, you may comply with this grand jury
 subpoena by promptly providing the undersigned Assistant U.S. Attorney with the requested records.



 Date: November 10, 2020                                           CLERK OF COURT



                                                                                  Signature of Clerk or Deputy Clerk




      The name, address, telephone number and email of the Assistant United States Attorney, who requests this subpoena,
      are:
      Jessica C. Brooks, Assistant United States Attorney                                 Subpoena #GJ2020111067990
      United States Attorney’s Office for the District of Columbia                        USAO #2020R02030
      555 4th Street, N.W. Room #10-840                                                   Preparer: ESWIENC
      Washington, DC 20530
      Phone: 202-252-7745 Fax: 202-252-7792
      Email: jessica.brooks@usdoj.gov
                           Case 1:22-mj-00022-RMM Document 32-13 Filed 02/18/22 Page 4 of 8
                                    PLEASE Read FIN-1 instructions before completing this form. Original and one copy required.
                                                                                                                                 DCN (FINANCE use only) If blank please C1
           BILL TO: UNITED STATES ATTORNEY’S OFFICE - DISTRICT OF COLUMBIA                                                       call 202-252-1700
                        FINANCE SECTION, 555 4TH ST., N.W., WASHINGTON, D.C. 20530
                                            202-252-1700
                                                                                                                                                                        LP
                    ADVICE OF OBLIGATION / RECEIVING REPORT

1. AUSA                                    2. SUPPORT PERSON               3.REQUESTING DIV                   4. TELEPHONE          5. USAO             6. GJ DATE
                                                                                                              CONTACT               NUMBER
Jessica C. Brooks                          ESWIENC                         CRIMINAL DIVISION
7. CASE NAME                               8. CASE NUMBER                  9. ACCOUNT TYPE
                                                                                                                202 252 7745                            10. GJ NUMBER

                                                                                    DIR O     OCDETF O     HCF O     AF O    ACE O
11. ESTIMATED              12. EST. COST (If Over $3,000, MUST be          13. VENDOR NAME                                          14. VENDOR TAX I.D.
DELIVERY DATE              submitted to PROCUREMENT SECT.)                 Digital Ocean
  11/17/2020                      $75.00

15. TYPE OF OBLIGATION

O TRANSCRIPT (Grand Jury)                                            (25225)            O CONSULTANT                                   (25107/25LC)
O TRANSCRIPT (Court)
O TRANSCRIPT (Deposition)
                                                                     (25225)
                                                                     (25225)
                                                                                        •OO
                                                                                          LEGAL RESEARCH
                                                                                          CERTIFIED CONVICTION
                                                                                                                                       (25213)
                                                                                                                                       (25213)
O FILING (Copy Abstract of Title, Filing Document Required)          (25215)            O OTHER (Specify below)                        (25107)
O STENOGRAPHY& INTERPRETER SERVICES                                  (25206)


16. TYPE OF TRANSCRIPT REQUESTED                         16a.                                                 17. TRANSCRIPT TYPE                      18. TRANSCRIPT FORMAT
                                                                   For Court Reporter requests ONLY

O REGULAR                                                 O SPECIAL (Hourly – Approval Required)                O COPY                                  O FULL PAGE
O INTERMEDIATE                                            O EXPEDITE (Approval Required)                        O ORIGINAL                              O CONDENSED
O DAILY (Approval Required)                               O EXPRESS (Approval Required) (3 Days)                O TAPE                                  O ELECTRONIC

19. REQUESTED ITEM

          GJ2020111067990


20. SIGNATURE OF REQUESTOR                                      21. DATE                22. APPROVED BY (Must have OBD-234 on File)                    23. DATE



Typed/Printed Name of Requestor                                                          Typed/Printed Name of Approving Official



24. FUNDS CERTIFICATION                                         25. DATE



26. INVOICE

       Number                 Date of                    Articles of Service(s)               Transcript Type            Quantity               Unit Price
       and Date              Delivery or                                                                                                    Cost           Per          Amount
       of Order               Service




                                                                                                                                     TOTAL
Payee Signature: _____________________________________               Date: ____________               *No payments should be made unless expenses are itemized.

27. CERTIFICATION
               I certify that these goods and/or services were received on                         (date) and accepted on                          (date). Oral purchase was
authorized and no confirming order has been issued.”

                   __________________________________________________________________                                   _________________________
                                         SIGNATURE                                                                               DATE

Printed or Typed Name and Title: ______________________________________________________________________________________________

 ORIGINAL – Finance                    COPY – Originating Office                                                                                                        FIN-1 07/14
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                          DECLARATION OF CUSTODIAN OF RECORDS


         Pursuant to 28 U.S.C. §1746, I, the undersigned, hereby declare:
My name is                                                                              .
                                       (name of declarant)

         I am a United States citizen and I am over eighteen years of age. I am the custodian of records of the
business named below, or I am otherwise qualified as a result of my position with the business named below to
make this declaration. I have knowledge of the record keeping system used by this business; this includes how
records are created and maintained.

        I am in receipt of a United States District Court Subpoena #GJ2020111067990 dated
 November 10, 2020, signed by Assistant United States Attorney Jessica C. Brooks, requesting specified records
of the business named below.

         Attached hereto are                  pages of records regarding
                                                                                    (Brief description of type of documents being subpoenaed)
                                                                              responsive to the subpoena. I
understand how these responsive documents were created. Pursuant to Rules 902(11) and 803(6) of the Federal
Rules of Evidence, I hereby certify that the records attached hereto:

         (1) were made at or near the time of the occurrence of the matters set forth in the records, by, or from
         information transmitted by, a person with knowledge of those matters;

         (2) were kept in the course of regularly conducted business activity, in that the records were created and
         preserved pursuant to established procedures, and were relied upon by an employee or this business; and

         (3) were made as part of the regularly conducted business activity as a regular practice, in that the records
         were created and preserved as part of routine reflections of the normal operations of this business.

         I declare under penalty of perjury that the foregoing is true and correct.

         Executed on               .                                        .
                                              (date)


                                                             (signature of declarant)


                                                             (name and title of declarant)


                                                             (name of business)


                                                             (business address)


                                                             (business address)




Definitions of terms used above:

As defined in Fed.R.Evid. 803(6), “record” includes a memorandum, report, record, or data compilation, in any form, of acts, events,
conditions, opinions, or diagnoses. The term “business” as used in Fed.R.Evid. 803(6) and the above declaration includes business,
institution, association, profession, occupation, and calling of every kind, whether or not conducted for profit.
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             INSTRUCTIONS FOR PRODUCTION OF RECORDS

I.       General:
         a. Records existing as Electronically Stored Information (ESI) shall be produced in
            non-proprietary electronic form and shall include text data and image data held:
                 i. In your record retention systems; and/or
                ii. By your technology, data, or other service provider(s).
         b. Records that do not exist as ESI may be produced in paper or other original format and
            may be converted to image or text data and provided as ESI, unless originals are required.


II.      Text Data
         a. Text data relating to transactions shall be produced within a data file:
                 i. Using a delimited ASCII text data format; or
                ii. Using software that can export to a commonly readable, non-proprietary file
                    format without loss of data.
         b. Text data files relating to transactions shall include field descriptions (e.g., account
            number, date/time, description, payee/payor, check number, item identifier, and amount).


III.      Image Data
          a. Image data shall be produced in graphic data files in a commonly readable,
             non-proprietary format with the highest image quality maintained.
          b. Image data of items associated with transactions (e.g., checks and deposit slips) shall be:
                  i. Produced in individual graphic data files with any associated endorsements; and
                 ii. Linked to corresponding text data by a unique identifier.


IV.      Encryption/Authentication
         a. ESI may be transmitted in an encrypted container (e.g. flash drive, CD/DVD).
            Decryption keys and/or passwords shall be produced separately at the time the data are
            produced. Please do not encrypt individual file contents if the container is encrypted.
         b. Authentication, such as hash coding, may be set by agreement.
         c. Affidavits or certificates of authenticity may be included as part of the electronic
            production.
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                                            ATTACHMENT


This Subpoena applies to the following records and information associated with the following
individuals, entities, bitcoin addresses, including support tickets submitted by the account
holders from January 1, 2016 to present:

    •   IP address 198.211.106.104
    •   unviral.com
    •   Demandpath.com
    •   HRMORGAN171@GMAIL.COM
    •   Ilya Lichtenstein
    •   Heather Morgan
    •   Phone: 847-208-2167
    •   Phone: 510-701-2734


In addition to the users identified through the above information, please also provide
information on any additional accounts that can be identified and linked to a user above
through the use of a common Internet Protocol (IP) address.

These records shall include, but are not limited to:

             1. All account information, EIN, names, physical addresses, phone numbers, email
                addresses, user IDs, account creation date, and administrative comments;
             2. IP addresses and logs (at each login);
             3. Financial instruments added to the subject account(s);
             4. Copies of KYC documents or other proofs of identification;
             5. All wallet addresses associated with the identified user(s);
             6. Correspondence with the accountholder;
             7. Complete transactional information (including complaints if available) for 2014
                through present




DEFINITIONS AND INSTRUCTIONS:

This subpoena duces tecum requires the production of certain documents (described in Section II of this
attachment below) in accordance with the following:
   A.    “Documents” refers to all written or graphic matter, however produced or reproduced onto any other
         tangible record, including, but not limited to, all writings or recordings, whether set down in handwriting,
         typewriting, printing, photostating, photographing, magnetic impulse, computer media, mechanical or
         electronic recording, or other form of data compilation; as well as all drafts and all versions of such
         documents, including electronic documents that have been deleted but are retrievable;
   B.    In referring to an entity, the subpoena refers to such entity irrespective of the names under which it has
         done business, as well as all of its predecessors, subsidiaries, affiliates, branches, divisions, groups,
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     operations, units, parent organizations; and each of the present and former officers, directors, employees,
     agents, and representatives of such entity;
C.   The individual or entity hereby subpoenaed must submit all documents in its possession, or its custody, or
     under its control;
D.   Documents that “relate to” a given subject matter include all documents that constitute, contain, embody,
     comprise, reflect, identify, state, refer to, pertain to, respond to, comment on, describe, analyze, or are in
     any way relevant to that subject, regardless of whether they explicitly mention or name the subject matter.
E.   Instructions for production of electronically stored records:

        •    General: Electronically stored records shall be produced in electronic form and shall include those
             records held (1) in your record retention systems; and/or (2) by your technology, data, or other
             service provider(s).

        •    Text Data: Text data relating to transactions (e.g., core data, history file) shall be produced within
             a data file: (1) Using delimited ASCII text data format; or (2) within software that can export
             without loss of data to a non-proprietary file format; or (3) using commonly readable file format
             set by agreement. Text data files relating to transactions produced according to E.I.A. shall include
             field descriptions (e.g., account number, date/time, description, payee/payor, check number, item
             identifier, and amount).

        •    Image Data: Image data shall be produced in graphic data files in a non-proprietary or commonly
             readable format with the highest image quality maintained. Image data of items associated with
             specific transactions (e.g., checks, deposits) shall be: (1) produced in individual graphic data files
             with any associated endorsements; and (2) linked to corresponding text data by a unique identifier.

        •    Encryption/Authentication: Electronically stored records may be transmitted in an encrypted
             container. Decryption keys shall be produced separately at the time the data are produced.
             Authentication, such as hash coding, may be set by agreement.
